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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

HAYLEY GRAHAM,                  )
                                )
    Plaintiff,                  )                    Civil Action No.: 2:17-cv-4969
                                )
    v.                          )                     Judge: Jane Triche Milazzo
                                )
SOUTHWEST CREDIT SYSTEMS, L.P., )                    Magistrate Judge: Joseph C. Wilkinson
                                )
    Defendant.                  )

                                NOTICE OF SETTLEMENT

       Plaintiff, Hayley Graham, (“Plaintiff”), through her attorney, Scott, Vicknair, Hair

& Checki, LLC, informs this Honorable Court that the Parties have reached a settlement in

this case. Plaintiff anticipates the parties filing a joint stipulation of dismissal, with

prejudice, within 60 days.

Dated: March 9, 2018                                 Respectfully submitted,


                                                     /s/ Samuel J. Ford
                                                     Samuel Ford, Esq. T.A. 36081
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                                                     Attorney for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that this day, March 9, 2018, I electronically filed the foregoing with the
Clerk of Court via the Court’s CM/ECF filing system, which will send notice to all counsel of
record in the instant action.

                                      /s/ Samuel J. Ford
